           Case 1:18-cv-03136-RMP                   ECF No. 63        filed 01/23/20       PageID.2085 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
             MARK PETERSON, an individual,
                                                                                                               Jan 23, 2020
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:18-CV-3136-RMP
 CITY OF YAKIMA, a local government entity; TONY                     )
O’ROURKE, an individual human; MARK SOPTICH, an                      )
individual human; and ANTHONY DOAN, an individual
                       human,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendants’ Motion for Summary Judgment, ECF No. 17, is GRANTED IN PART and DENIED IN PART.
’
              Plaintiff’s Motion for Partial Summary Judgment, ECF No. 22, is DENIED.
              Judgment is entered in favor of Defendants on Plaintiff’s Fourth Amendment Malicious Prosecution and Retaliation
              claims and Fourteenth Amendment claim. The remainder of Plaintiff’s claims are preserved for trial.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge               Rosanna Malouf Peterson                                       on a motions for summary
      judgment.


Date: January 23, 2020                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                            Angela Noel
